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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-724V
                                      Filed: April 17, 2017
                                       Not for Publication


*************************************
THOMAS REECE,                            *
                                         *
             Petitioner,                 *       Attorneys’ fees and costs decision;
                                         *       reasonable attorneys’ fees and
 v.                                      *       costs
                                         *
SECRETARY OF HEALTH                      *
AND HUMAN SERVICES,                      *
             Respondent.                 *
                                         *
*************************************
Michael G. McLaren, Memphis, TN, for petitioner.
Amy P. Kokot, Washington, DC, for respondent.


MILLMAN, Special Master

                DECISION AWARDING ATTORNEYS’ FEES AND COSTS 1

        On July 14, 2015, petitioner filed a petition for compensation under the National
Childhood Vaccine Injury Act, 42 U.S.C. §§ 300aa-10–34 (2012). Petitioner alleged his receipt
of the influenza (“flu”) vaccine caused him to develop Guillain-Barré syndrome (“GBS”). On
January 17, 2017, the undersigned issued a damages decision in this case pursuant to the parties’
stipulation awarding petitioner $646,322.67 in compensation.

       On March 31, 2017, petitioner filed a motion for attorneys’ fees and costs. Petitioner
requests $42,884.50 in attorneys’ fees, $4,677.98 in attorneys’ costs, and $1,581.80 in personal

1
  Because this unpublished decision contains a reasoned explanation for the special master’s action in this
case, the special master intends to post this unpublished decision on the United States Court of Federal
Claims’ website, in accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012)
(Federal Management and Promotion of Electronic Government Services). Vaccine Rule 18(b) states that
all decisions of the special masters will be made available to the public unless they contain trade secrets
or commercial or financial information that is privileged and confidential, or medical or similar
information whose disclosure would constitute a clearly unwarranted invasion of privacy. When such a
decision is filed, petitioner has 14 days to identify and move to redact such information prior to the
document=s disclosure. If the special master, upon review, agrees that the identified material fits within
the banned categories listed above, the special master shall redact such material from public access.
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litigation expenses, for a total request of $49,144.28. On April 17, 2017, respondent filed a
response to petitioner’s motion explaining that he is satisfied this case meets the statutory
requirements for an award of attorneys’ fees and costs under 42 U.S.C. § 300aa-15(e)(1)(A)-(B).
Resp. at 2. Respondent “respectfully recommends that the [undersigned] exercise her discretion
and determine a reasonable award for attorneys’ fees and costs.” Id. at 3.


        Under the Vaccine Act, a special master or a judge on the U.S. Court of Federal Claims
shall award reasonable attorneys’ fees and costs for any petition that results in an award of
compensation. 42 U.S.C. § 300aa-15(e)(1); Sebelius v. Cloer, 133 S. Ct. 1886, 1893 (2013).
The special master has “wide discretion in determining the reasonableness” of attorneys’ fees
and costs. Perreira v. Sec’y of HHS, 27 Fed. Cl. 29, 34 (1992), aff’d, 33 F.3d 1375 (Fed. Cir.
1994); see also Saxton ex rel. Saxton v. Sec’y of HHS, 3 F.3d 1517, 1519 (Fed. Cir. 1993)
(“Vaccine program special masters are also entitled to use their prior experience in reviewing fee
applications.”).

       Based on her experience and review of the billing records submitted by petitioner, the
undersigned finds that petitioner’s attorneys’ fees and costs request is reasonable. Therefore,
the undersigned GRANTS petitioner’s Motion for Attorneys’ Fees and Costs. Accordingly,
the court awards:


        a. $47,562.48, representing attorneys’ fees and costs. The award shall be in the form of
           a check made payable jointly to petitioner and Black McLaren Jones Ryland &
           Griffee, PC in the amount of $47,562.48; and

        b. $1,581.80, representing petitioner’s costs. The award shall be in the form of a check
           made payable to petitioner for $1,581.80.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment herewith. 2


IT IS SO ORDERED.


Dated: April 17, 2017                                              s/ Laura D. Millman
                                                                      Laura D. Millman
                                                                       Special Master




2
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.
                                                    2
